Case 1:20-cv-00701-WJM-NYW Document5 Filed 03/23/20 USDC Colorado Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Barack Ochondo, On Behalf of Himself and All Others Similarly Situated

 

Plaintiff
vs, Case No.: 1:20-cv-00701-NYW
Specialized Loan Servicing LLC
Defendant
_AFFIDAVIT OF SERVICE

I, Adam Golden, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Consent/Non-Consent to the Exercise of Jurisdiction by a
United States Magistrate Judge in Direct Assignment Cases, Election Concerning Consent/Non-Consent to United States
Magistrate Judge Jurisdiction, Class Action Complaint with Exhibit A, and Civil Cover Sheet in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 03/17/2020 at 2:29 PM, I served Specialized Loan Servicing LLC c/o United Agent Group Inc., Registered Agent at 3411
Silverside Road, Tatnall Building, Suite 104, Wilmington, Delaware 19810 with the Summons, Consent/Non-Consent to the
Exercise of Jurisdiction by a United States Magistrate Judge in Direct Assignment Cases, Election Concerning Consent/Non-
Consent to United States Magistrate Judge Jurisdiction, Class Action Complaint with Exhibit A, and Civil Cover Sheet by serving
Jennifer Goetz, Agent, authorized to accept service on behalf of United Agent Group Inc.

Jennifer Goetz is described herein as:

Gender: Female Race/Skin: White Age: 45 Weight: 115 Height: 5'6" Hair: Brown Glasses: No

I declare under penalty of perjury that this information is true and correct.

5 A= 26 .
Executed On fl io Adam Golden

 

 

 
 

Client Ref Number:544-02
Job #: 1576256

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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Case 1:20-cv-00701-NYW Document 3 Filed 03/13/20 USDC Colorado Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

District of Colorado

BARACK OCHONDO, on behalf of himself and all
others similarly situated,

Plaintiff(s)

Vv. Civil Action No. 1:20-cv-00701-NYW

SPECIALIZED LOAN SERVICING LLC

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SPECIALIZED LOAN SERVICING LLC
c/o United Agent Group Inc
3411 Silverside Road
Tatnall Building #104
Wilmington, DE 19810

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Hassan A. Zavareei

Tycko & Zavareei LLP
1828 L Street NW, Suite 1000
Washington, DC 20036

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

WES DIS.
ss wie,

   

CLERK OF COURT

s/C. Madrid

Signature of Clerk or Deputy Clerk

Date: 03/13/2020
